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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION




UNITED STATES OF AMERICA          )
                                  )
    v.                            )      CRIMINAL ACTION NO.
                                  )        2:07cr61-MHT
NUKAK EFFIONG ASANANSI            )           (WO)

                        OPINION AND ORDER

    This cause is before the court on defendant Nukak

Effiong Asanansi’s unopposed motion to continue.               For the

reasons   set   forth    below,    the    court   finds    that    jury

selection and trial, now set for August 24, 2009, should

be continued pursuant to 18 U.S.C. § 3161(h)(7).

    While the granting of a continuance is left to the

sound discretion of the trial judge, United States v.

Stitzer, 785 F.2d 1506, 1516 (11th Cir. 1986), the court

is limited by the requirements of the Speedy Trial Act,

18 U.S.C. § 3161.       The Act provides in part:

          “In any case in which a plea of not
          guilty is entered, the trial of a
          defendant charged in an information or
          indictment with the commission of an
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            offense shall commence within seventy
            days from the filing date (and making
            public)    of   the    information    or
            indictment, or from the date the
            defendant has appeared before a judicial
            officer of the court in which such
            charge is pending, whichever date last
            occurs.”

Id. § 3161(c)(1).                The Act excludes from the 70-day

period any continuance based on “findings that the ends

of justice served by taking such action outweigh the best

interest of the public and the defendant in a speedy

trial.”        Id.    §    3161(h)(7)(A).       In     granting    such     a

continuance,         the    court    shall   consider,     among     other

factors, whether the failure to grant the continuance
"would deny counsel for the defendant or the attorney for
the     Government         the    reasonable    time     necessary        for

effective preparation, taking into account the exercise

of due diligence."           Id. § 3161(h)(7)(B)(iv).

      The court concludes that, in this case, the ends of

justice served by granting a continuance outweigh the

interest of the public and Asanansi in a speedy trial.

Counsel for Asanansi represents that Asanansi has been

given until July 24, 2009, to secure payment necessary to

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retain counsel’s services.         After that time, counsel and

Asanansi must begin review of the case, which includes

over 4,000 pages of discovery.           The government does not

oppose a continuance for the purpose of counsel and the

defendant reviewing the discovery in preparation for

trial.

    Accordingly, it is ORDERED as follows:

    (1) Defendant Nukak Effiong Asanansi’s motion for

continuance (Doc. No. 348) is granted.

    (2) The jury selection and trial, now set for August

24, 2009, are reset for October 26, 2009, at 10:00 a.m.,

at the Frank M. Johnson Jr. United States Courthouse

Complex, One Church Street, Montgomery, Alabama.

    DONE, this the 21st day of July, 2009.



                             /s/ Myron H. Thompson
                          UNITED STATES DISTRICT JUDGE
